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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


FURMINATOR, INC.,                                )
                                                 )
                       Plaintiff,                )
                                                 )          No. 4:06-CV-23 CAS
       v.                                        )
                                                 )
ONTEL PRODUCTS CORP., et al.,                    )
                                                 )
                       Defendants.               )

                        ORDER STAYING CASE PENDING APPEAL

       This matter is before the Court on plaintiff’s consent motion to stay the proceedings in this

case pending disposition of plaintiff’s appeal to the United States Court of Appeals for the Federal

Circuit of the Court’s Findings of Fact and Conclusions of Law dated March 17, 2006. Plaintiff

has also filed a consent motion for extension of time to file its response to defendants Ontel

Products Corp. and Linens ‘N Things, Inc.’s counterclaim.

       FURminator has agreed that during the stay it will refrain from accusing any of Defendants’

current or potential customers of infringement (whether direct, contributory, or induced) of U.S.

Patent 6,782,846 as a result of such customers importing, using, selling or offering for sale the Shed

Ender Professional De-Shedding Tools or the Bamboo de-shedding combs. FURminator also agrees

that during the stay, it will not accuse Defendants’ current or potential customers of trademark

infringement or unfair competition as a result of such customers use of the term “de-shedding” in

connection with the Shed Ender Professional De-Shedding Tools or the Bamboo de-shedding combs.

       Accordingly,

       IT IS HEREBY ORDERED that plaintiff’s consent motion to stay the proceedings in this

case is GRANTED. [Doc. 113]
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       IT IS FURTHER ORDERED that this matter is stayed pending the United States Court

of Appeals for the Federal Circuit’s disposition of plaintiff’s appeal of this Court’s March 17, 2006

Findings of Fact and Conclusions of Law. The stay shall not apply to any motion regarding a breach

of the agreement described above.

       IT IS FURTHER ORDERED that plaintiff’s consent motion for an extension of time to

file a response to defendants Ontel Products Corp. and Linens ‘N Things, Inc.’s counterclaim is

DENIED as moot, as the case has been stayed. [Doc. 112]

       IT IS FURTHER ORDERED that the Court will lift the stay of this case on its own motion

upon the filing of the mandate of the United States Court of Appeals for the Federal Circuit with the

Clerk of this Court.




                                                  CHARLES A. SHAW
                                                  UNITED STATES DISTRICT JUDGE


Dated this 19th day of April, 2006.




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